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                      Exhibit no. 6
Article 2 of the Lebanese Banking Secrecy Law
              of September 3, 1956
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Article 2 of the Lebanese Banking Secrecy Law of September 3, 1956

The managers and employees of the banks mentioned in Article 1, and any person who, owing to
his capacity or position, has access by any means to the banks’ books, operations and
correspondence, are absolutely bound by banking secrecy in the interest of the clients of such
banks. These persons may not disclose any information known to them about the clients’ names,
assets, or matters that concern them, to any party, be it an individual or a public authority,
whether administrative, military or judicial, except when authorized in writing by the concerned
client, her heirs or legatees, or in case the client is declared bankrupt, or if a lawsuit arises with
respect to a banking transaction between banks and their clients.
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